UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
SOUTHERN DIVISION AT PIKEVILLE

CASE NUMBER 7:24-CR-14-1-DCR-EBA

UNITED STATES OF AMERICA, PLAINTIFF,

VS.

CHRISTOPHER SPRINGFIELD, DEFENDANT.
NOTICE OF APPEAL

All parties please take notice the Defendant Christopher Springfield hereby files
his notice of appeal regarding the above styled matter, specifically the judgment of
February 27, 2025 as entered by the United States District Court Clerk.

The Defendant hereby designates the entire record in the above styled matter for
the purposes of appeal, and requests that he be temporarily appointed legal counsel
regarding this appellate action, as the Defendant has requested this counsel withdraw for
the furtherance of the appeal.

The Defendant is Christopher Springfield, previously represented by the Hon.
Richard A. Hughes, Attorney at Law, P. O. Box 1139, Ashland, Kentucky 41105-1139,
(606) 325-3399,

The Plaintiff is the United States of America, represented by the Hon. Andrew
Trimble, 260 W. Vine Street, Ste. 300, Lexington, Ky. 40507, (859)-233-2661.
RESPECTFULLY SUBMITTED,

/s/ HON. RICHARD A. HUGHES

HON. RICHARD A. HUGHES
ATTORNEY AT LAW
P.O. BOX 1139
ASHLAND, KENTUCKY 41101
(606) 325-3399
CERTIFICATION

The above styled notice of appeal was mailed, postage prepaid, or hand delivered,
and served on all opposing counsel and parties at their last known address:

Hon. Andrew Trimble
260 W. Vine Street
Ste. 300

Lexington, Ky. 40507

Hon. David Bunning

1405 Greenup Avenue

Ashland, Ky. 41101

This the 7th day of March, 2025.

/s/ HON. RICHARD A. HUGHES
HON. RICHARD A. HUGHES

CERTIFICATION

The above styled motion was mailed, postage prepaid, or hand delivered to the
following:

Hon. Andrew Trimble
260 W. Vine Street
Ste. 300

Lexington, Ky. 40507

Hon. David Bunning

1405 Greenup Avenue

Ashland, Ky. 41101

Hon. Richard A. Hughes

P. O. Box 1139

Ashland, Ky. 41105

This the ____ day of March, 2025.
UNITED STATES FEDERAL CLERK.

BY: D.C,

